             Case 3:21-cv-05068-LK-SKV Document 99 Filed 03/07/23 Page 1 of 2




 1                                                                          U.S. District Judge Lauren King
                                                                        US Magistrate Judge S. Kate Vaughan
 2

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 6                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8   JUSTIN ALLEN DAVEY,                                  NO. 3:21-cv-05068-JCC-SKV

 9                                         Plaintiff,
10           vs.                                          JOINT STATEMENT AND RESPONSE TO
                                                          COURT ORDER DKT 98
11   PIERCE COUNTY COUNCIL, ED
     TROYER, PATTI JACKSON, BRIAN
12   SUTHERLIN, MATTHEW DOBSON,
     ANTHONY MASTANDREA, DARRYL
13   HERBISON, AND TORVALD PEARSON,
14
                                       Defendants.
15
             Pursuant to the Court’s Order of March 6, 2023 (Dkt. 93), Plaintiff Echota Wolfclan a/k/a
16
     - f/k/a Justin Allen Davey and Defendants hereby submit the following Joint Statement and
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     Response and inform the Court as follows:
18
             On March 3, 2023, the parties agreed to a settlement of all costs, including attorneys’
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     fees, in the amount of $12,000.00. The parties will file an updated Offer of Judgment that will
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     include the above amount for costs and attorneys’ fees. The parties also intend to file a separate
21
     Satisfaction of Judgment that will include the Judgment amount of $33,000.00 plus $12,000.00
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     for costs and attorneys’ fees.
23
     ////
24

     JOINT STATEMENT AND RESPONSE TO COURT ORDER Dkt. 98 - 1        Pierce County Prosecuting Attorney/Civil Division
     3.7.23 Jt Smnt Resp to CO                                      930 Tacoma Avenue South, Suite 946
     USDC WAWD No. 3:21-cv-05068-JCC-SKV                            Tacoma, Washington 98402-2102
                                                                    Main: (253) 798-6732 / Fax: (253) 798-6713
             Case 3:21-cv-05068-LK-SKV Document 99 Filed 03/07/23 Page 2 of 2




 1           DATED this 7th day of March, 2023.

 2                                                        MARY E. ROBNETT
                                                          Prosecuting Attorney
 3
                                                          s/ FRANK CORNELIUS
 4                                                        FRANK CORNELIUS, WSBA #29590
                                                          Deputy Prosecuting Attorney / Civil
 5                                                        930 Tacoma Avenue South, Suite 946
                                                          Tacoma, WA 98402-2102
 6                                                        Ph: 253-798-6514 / Fax: 253-798-6713
                                                          frank.cornelius@piercecountywa.gov
 7

 8                                                        s/ J. SCOTT PRITCHARD_______________
                                                          J. Scott Pritchard, WSBA No. 50761
 9                                                        Alissa N. Harris, WSBA No. 59368
                                                          Michael P. Rubin, WSBA No. 59598
10                                                        Stoel Rives, LLP, 600 University St., Ste. 3600
                                                          Seattle, WA 98101
11                                                        Ph: (206)624-0900 / Fax (206)386-7500
                                                          scott.pritchard@stoel.com
12                                                        ali.harris@stoel.com
                                                          michael.rubin@stoel.com
13
                                        CERTIFICATE OF SERVICE
14
          On March 7, 2023, I hereby certify that I electronically filed the foregoing JOINT
15   STATEMENT AND RESPONSE TO COURT ORDER with the Clerk of the Court using the
     CM/ECF system which will send notification of such filing to the following:
16
                 •   J. Scott Pritchard: scott.pritchard@stoel.com
17                   STOEL RIVES, LLP

18               •   Alissa N. Harris: ali.harris@stoel.com
                     STOEL RIVES, LLP
19
                 •   Michael P. Rubin: michael.rubin@stoel.com
20                   STOEL RIVES, LLP
21                                                             s/ NADINE BRITTAIN
                                                               NADINE BRITTAIN
22                                                             Legal Assistant
23

24

     JOINT STATEMENT AND RESPONSE TO COURT ORDER Dkt. 98 - 2           Pierce County Prosecuting Attorney/Civil Division
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